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                        EXHIBIT A
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DEVENS, NAKANO, SAITO,
 LEE, WONG & CHING                                            Electronically Filed
                                                              FIRST CIRCUIT
JAMES H.Q. LEE                2974-0                          1CCV-XX-XXXXXXX
THOMAS J. WONG                3054-0                          11-APR-2024
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Attorneys for Plaintiffs
KATHLEEN KAIZUKA, Individually,
and as the child of Hiroshi Kagawa

                  IN THE CIRCUIT COURT OF THE FIRST CIRCUIT

                                 STATE OF HAWAII


 KATHLEEN KAIZUKA, INDIVIDUALLY, CIVIL NO.______________________
 AND AS THE CHILD OF HIROSHI     (Other Non-Vehicle Tort)
 KAGAWA
                                 COMPLAINT; DEMAND FOR
          Plaintiffs,            JURY TRIAL; and SUMMONS

 vs.

 SYNGENTA AG
    Serve: P.O. Box
    CH-4002 Basel
    Switzerland



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 SYNGENTA CROP PROTECTION, LLC
    Serve: C T CORPORATION SYSTEM
    900 FORT STREET MALL, SUITE
    1680 HONOLULU, Hawaii 96813

 CHEVRON U.S.A. INC.
    Serve: PHCS HAWAII, INC.SYSTEM
    1600 PAUAHI TOWER
    1003 BISHOP ST
    HONOLULU, Hawaii 96813


 YAMASHIRO BUILDING & SUPPLY,
 INC.
      Serve: BYRON K. YAMASHIRO
      45-552 KAMEHAMEHA HWY
      KANEOHE, Hawaii 96744

 JOHN DOES 1-10, JANE DOES 1-10, DOE
 PARTNERSHIPS, CORPORATIONS, or
 ENTITIES 1-20,

              Defendants.



                                      COMPLAINT

       Plaintiff KATHLEEN KAIZUKA, Individually, and as the child of HIROSHI KAGAWA,

by and through her undersigned counsel, Devens, Nakano, Saito, Lee, Wong & Ching and The

Miller Law Firm, alleges the following allegations and claims against Defendants SYNGENTA

AG, SYNGENTA CROP PROTECTION, LLC, CHEVRON U.S.A., INC., and YAMASHIRO

BUILDING & SUPPLY, INC. (collectively, “Defendants”):

                                        PARTIES

                                        Plaintiffs

       1.     Hiroshi Kagawa (“Mr. Kagawa” or “Decedent”) was first exposed to Paraquat in

or about 1963 when he began spraying the pesticide on his nursery in Hawaii. Hiroshi Kagawa


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was exposed to Paraquat continuously from 1963 through 1973. Mr. Kagawa was diagnosed with

Parkinson’s disease in the late 1980’s and died in 2005.

       2.      From 1963 – 1973, Mr. Kagawa was regularly exposed to Paraquat as the owner

and manager of his nursery. He regularly sprayed Paraquat at the nursery with Paraquat

manufactured by Syngenta Crop Protection LLC, Syngenta AG, and Chevron U.S.A. Inc. The

Paraquat was purchased by Mr. Kagawa from Yamashiro Building & Supply, Inc.

       3.      Plaintiff Kathleen Kaizuka (“Ms. Kaizuka”) is a citizen and resident of Hilo,

Hawaii. Ms. Kaizuka is the daughter of Hiroshi Kagawa and lived with Mr. Kagawa on the nursery

that he maintained and sprayed with Paraquat.

                                           Defendants

       4.      Paraquat was first designed, manufactured, patented, and distributed by a British

entity called Imperial Chemical Industries and its affiliates. Through a series of mergers and

acquisitions, Imperial Chemical Industries and its affiliates’ successors are Defendants Syngenta

AG and Syngenta Crop Protection LLC (“hereinafter Syngenta”). This Complaint therefore

ascribes Imperial Chemical Industries’ and its affiliates’ and successors’ actions, as well as the

actions of other companies to which Syngenta is a successor, to Syngenta.

       5.      Syngenta AG is headquartered in Switzerland. Syngenta AG is the parent company

of Syngenta Crop Protection LLC, a United States company incorporated in the State of Delaware

with a principal place of business in North Carolina. Syngenta AG has regularly transacted and

conducted business within the State of Hawaii and has derived substantial revenue from goods and

products, including Paraquat, used in the State of Hawaii and employs sales representatives in the

State of Hawaii. Syngenta AG expected or should have expected its acts to have consequences




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within the State of Hawaii because it derived substantial revenue from interstate commerce and

invoked the benefits and protection of the State of Hawaii’s laws.

       6.      Syngenta entered into an agreement with the chemical company Ortho Division to

design, manufacture, and distribute Paraquat in the United States. Through a series of mergers and

acquisitions, Ortho Division and its successors’ and affiliates’ (including Chevron Chemical

Company) ultimate successor is Defendant Chevron U.S.A. Inc. (hereinafter “Chevron”) This

Complaint therefore ascribes Ortho Division’s actions, as well as the actions of its affiliates and

other companies to which Chevron is a successor, to Chevron. Chevron also manufactured other

products recommended for use with Paraquat. Syngenta has regularly transacted and conducted

business within the State of Hawaii and has derived substantial revenue from goods and products,

including Paraquat, used in the State of Hawaii and employs sales representatives in the State of

Hawaii. Syngenta expected or should have expected its acts to have consequences within the State

of Hawaii because it derived substantial revenue from interstate commerce and invoked the

benefits and protection of the State of Hawaii’s laws.

       7.      Chevron is incorporated in Pennsylvania and its principal place of business is in

San Ramon, California. Chevron has regularly transacted and conducted business within the State

of Hawaii and has derived substantial revenue from goods and products, including Paraquat, used

in the State of Hawaii and employs sales representatives in the State of Hawaii. Chevron expected

or should have expected its acts to have consequences within the State of Hawaii because it derived

substantial revenue from interstate commerce and invoked the benefits and protection of the State

of Hawaii’s laws.

       8.      Yamashiro Building & Supply, Inc (“YB&S”) is a Hawaii corporation,

headquartered in Kaneohe. YB&S sold Paraquat products to Mr. Kagawa.



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                                 JURISDICTION AND VENUE

       9.      This Court has personal jurisdiction over the above Defendants under Hawaii

Revised Statues (“HRS”) § 634-35, as the tortious conduct alleged herein arises within this state.

Defendants are subject to the jurisdiction of the Court because they reside and/or conduct business

in this Circuit and the tortious conduct alleged herein occurred within this Circuit.

       10.     This Court has subject matter jurisdiction over this action under HRS § 603-21.5.

       11.     Venue is proper before this Court under HRS § 603.36.

       12.     Defendants Syngenta and Chevron U.S.A. are registered to conduct business in

Hawaii, are present, have transacted and conducted, and continue to transact and conduct

substantial business in Hawaii, have and continue to maintain a registered agent in Hawaii,

consistently and purposefully avails itself of the privileges of conducting business in Hawaii and

in this judicial district by marketing, distributing, promoting, and selling Paraquat in Hawaii as

detailed further herein.    Chevron also contracted with Defendant YB&S within Hawaii.

Furthermore, Syngenta and Chevron U.S.A committed tortious acts within this state fraudulently

concealing the link between Paraquat and Parkinson’s disease from potential Hawaii plaintiffs,

including Mr. Kagawa.

       13.     Plaintiffs Kathleen Kaizuka, Individually, and as child of Hiroshi Kagawa,

Decedent, are and were residents of Hawaii and have suffered substantial emotional, physical, and

financial injuries in Hawaii. All Defendants have availed themselves to doing business in Hawaii,

including the sale, distribution, marketing, and promotion of Paraquat products that have resulted

in harm to Hawaii residents.




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           14.   Plaintiffs Kathleen Kaizuka, Individually, and as the child of Hiroshi Kagawa and

Defendant YB&S are all citizens of Hawaii. Defendant YB&S is a Hawaii local defendant for

purposes of removal and diversity jurisdiction.

                                          ALLEGATIONS

                                 Discovery and Design of Paraquat

           15.   Paraquat is a man-made chemical formulation; it does not occur naturally.

           16.   Paraquat was first discovered in the 1880s but, at that time, its herbicidal properties

were not known.

           17.   In the 1930s, organic chemists discovered “free radicals”—unstable molecules that

damaged human cells, including the DNA in those cells. Free radicals can occur naturally or be

caused by external stressors or substances. Free-radical molecules come to possess an uneven

number of electrons. That uneven number allows them to easily react with other molecules through

a process called “oxidation.” Scientists discovered that a cascade of these oxidation reactions were

toxic to human cells because they damaged the cells, interrupted their normal operation, and

corrupted the cells’ DNA. These cascades of oxidation reactions are sometimes called “redox

cycling.” And the net (toxic) effects of redox cycling are sometimes referred to as “oxidative

stress.”

           18.   Prior to the 1950s, the same oxidative stress that was known to be toxic to human

and animal cells was found to be toxic to plant cells.

           19.   In or about 1955, scientists at Syngenta discovered that Paraquat caused redox

cycling and oxidative stress. Syngenta scientists discovered that Paraquat cations would

continuously and perpetually lose and then regain an oxygen ion. They realized that there was no




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natural stoppage for this redox cycling; it would go on and on in perpetuity, causing significant

oxidative stress.

       20.     Syngenta scientists discovered that this redox cycling would result in oxidative

stress that would be toxic to plant cells and interfere with a plant’s ability to conduct

photosynthesis. Paraquat-induced redox cycling and oxidative stress, the Syngenta scientists

concluded, made Paraquat effective as an herbicide.

       21.     Paraquat was effective as an herbicide because it induced redox cycling and caused

oxidative stress in plants in the same way that the free-radical literature had documented redox

cycling and oxidative stress disrupted the cellular function and damaged the cellular DNA of

human cells. Indeed, in the 1950s Syngenta personnel commented that Paraquat was toxic,

primarily affected the human central nervous system, and could be absorbed through human skin.

       22.     However, Paraquat was not effective on its own. Without a surfactant, Paraquat

would run off the leaves of plants instead of penetrating into the plant’s cells where redox cycling

could cause oxidative stress and disrupt photosynthesis. Syngenta scientists would test the many

surfactants available on the market to determine their compatibility with Paraquat. Generally, these

surfactants were non-ionic and readily available in the United States.

       23.     Syngenta obtained various U.S. and U.K. patent protections for Paraquat in or about

1960 and 1961 and began selling Paraquat internationally in 1962.

       24.     Generally, Syngenta would manufacture what it called “technical Paraquat,” an

essential form of the active ingredient that had to be formulated further into a final, sale-ready

product.




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                                  Syngenta’s Partnership with Chevron

       25.     At roughly the same time that Syngenta obtained patent protection for Paraquat,

Chevron was looking to increase its presence in the agricultural chemical market. Chevron already

manufactured several agricultural chemicals, including non-ionic surfactants that could help

herbicides penetrate a plant’s dermis and attack a plant’s cells. But Chevron sought to expand into

herbicides and pesticides, which are sometimes referred to as “crop protection” business lines.

       26.     As part of that expansion, on or about May 19, 1960, Chevron entered into an

agreement with Syngenta that would allow Chevron to evaluate Paraquat for potential sale in the

United States. Pursuant to that agreement, Syngenta supplied Chevron with information

concerning Syngenta’s Paraquat formulations, their herbicidal properties, and data relating to

safety and exposure risk.

       27.     Chevron reviewed these data and conducted extensive market research to determine

the potential demand for Paraquat in the United States. During this period in the early 1960s,

Chevron personnel reported that Paraquat was toxic and potentially hazardous to humans.

Nonetheless, after several years of market evaluation and negotiation, Chevron and Syngenta

decided to enter a partnership.

       28.     On or about May 4, 1964, Syngenta entered into a licensing agreement with the

Chevron, whereby Chevron would act as the exclusive formulator and distributor of Paraquat in

the United States.

       29.     The agreement also mandated that Syngenta and Chevron share information

concerning the formulation, use, and sale of Paraquat, and permitted that information to be shared

with companies Syngenta and Chevron contracted with to formulate or sell Paraquat. The

companies also agreed to share information concerning end-user safety.



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        30.     Under the agreement, Syngenta would manufacture technical Paraquat and

 Chevron, along with other companies Syngenta and Chevron contracted with, would formulate the

 technical Paraquat into the use-ready Paraquat that Chevron would sell to distributors, and that

 would ultimately be purchased and used by an end-user.

                          Paraquat Was Known to be Unreasonably Dangerous

        31.     Before Paraquat was ever sold in the United States, both Syngenta and Chevron

 were aware that Paraquat was unreasonably dangerous.

        32.     By 1958, internal Syngenta research reports opined that Paraquat was at least

 moderately toxic to humans, and that the main area of the human body affected was the central

 nervous system. Those research documents proposed further evaluation of Paraquat’s toxicity

 before placing it into the stream of commerce. This research was either not done or its results were

 suppressed.

        33.     By 1960, Syngenta was aware that Paraquat would undergo redox cycling and could

 accumulate in mammalian tissues.

        34.     Similarly, by at least 1963, internal Chevron documents reveal that Paraquat was

 potentially hazardous to human health, and that insufficient research had been done to evaluate its

 potential neurotoxic effects.

        35.     Further, following the start of global sales of Paraquat in 1962, Syngenta observed

 that workers involved in its manufacture of Paraquat were experiencing nose bleeds and other

 symptoms consistent with toxic exposure. As a result, Syngenta changed its manufacturing

 processes, creating a so-called “closed system” where engineering controls would prevent

 Syngenta employees from ever coming into contact with Paraquat.




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        36.     Syngenta shared this internal research data with Chevron. These data demonstrated

 that Paraquat was highly toxic and had the potential to seriously injure or kill humans exposed to

 highly-concentrated doses of the herbicide. The data also indicated that low-dose exposure had the

 potential to affect the human central nervous system.

        37.     Nonetheless, after consummating their partnership, Syngenta and Chevron

 embarked on a full-scale joint operation to manufacture and sell Paraquat in the United States

 while hiding the risks of low-dose Paraquat exposure.

                          Syngenta and Chevron Place Paraquat on the Market

        38.     Prior to the first U.S. sale of Paraquat in 1964 or 1965, Syngenta and Chevron had

 to register Paraquat with various state and federal authorities, including the Hawaii Department of

 Agriculture. Registration required Syngenta and Chevron to agree on a formulation of the product.

        39.     Aware that Paraquat was highly toxic to humans, Syngenta and Chevron jointly

 decided to minimize the appearance of toxicity. Both companies were aware—through internal

 research data as well as their experience designing and selling surfactants—that surfactants would

 dramatically increase the toxicity of Paraquat.

        40.     For instance, internal Syngenta research documents show that surfactants were

 found to speed Paraquat’s penetration into animal cells, increase the concentration of Paraquat in

 animal cells, and increase the bioavailability—that is, the proportion a substance that is able to

 actively affect the body—of Paraquat. These research documents conclude that the inclusion of

 surfactants in Paraquat formulations is likely to increase the Paraquat’s toxicity.

        41.     On information and belief, these data—or summaries of them—were shared with

 Chevron pursuant to their partnership agreement. Chevron and Syngenta held regular meetings to

 discuss (among other things) such topics.



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         42.     To mask Paraquat’s toxicity, Syngenta and Chevron decided to sell Paraquat in the

 United States without a surfactant. The implications of that decision were twofold.

         43.     First, Syngenta and Chevron jointly submitted scientific studies and reports in

 support of their applications to state and federal regulators that showed lower levels of toxicity

 than what would actually be experienced by end-users of Paraquat.

         44.     Second, Syngenta and Chevron knew that requiring end-users to mix Paraquat with

 a surfactant before using it would dramatically increase the risk of low-dose Paraquat exposure.

 Internal company documents from both Syngenta and Chevron commented upon the increased risk

 that end-users would come into contact with Paraquat while mixing the herbicide with surfactant

 or cleaning equipment used in the mixing process.

         45.     Meanwhile, Syngenta decided to sell Paraquat pre-mixed with surfactant in certain

 markets outside of the United States.

         46.     Paraquat was registered by state and federal authorities using the Syngenta-

 produced, Chevron-submitted data that masked the risks of human exposure.

         47.     Syngenta and Chevron began manufacturing, formulating, and selling Paraquat in

 the United States (including Hawaii) pursuant to their partnership agreement and without a pre-

 mixed surfactant in 1964 or 1965.

         48.     Several of those products were accompanied by an instruction to use a particular

 surfactant: X-77 Spreader (sometimes called Ortho X-77). X-77 was designed and manufactured

 by Chevron and licensed to multiple other chemical companies for manufacture and/or

 distribution.




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        49.     Chevron produced ads and other promotional materials that referred to X-77 as

 more efficient and economical when used with Paraquat and recommended that end-users mix

 Paraquat with X-77 in particular.

                      Syngenta and Chevron Create Nationwide Distribution Model

        50.     As the sole U.S. formulator and distributor of Paraquat, Chevron lacked capacity to

 make all of the Paraquat needed to satisfy the increasing demand for the herbicide in Hawaii and

 throughout the United States.

        51.     Consumer-ready Paraquat was shipped throughout the United States, sometimes

 directly to local distributors like farm collectives, supply stores, or agricultural organizations, and

 sometimes to mid-market wholesalers.

        52.     Chevron and Syngenta also maintained a large network of sales personnel tasked

 with selling Paraquat to end-users. Chevron also embarked, with Syngenta’s knowledge and

 approval, on aggressive marketing campaigns to promote Paraquat as the key to so-called “no-till”

 farming. Chevron also utilized the large sales networks of distributor sales personnel to promote

 Paraquat in Hawaii and elsewhere.

        53.     These marketing efforts also included co-opting numerous “thought leaders”

 throughout Hawaii and the United States to encourage end-users to adopt aggressive Paraquat use.

 These thought leaders included agricultural extension services connected with major universities,

 agricultural colleges, academic researchers, and wholesalers (who often had name recognition in

 the agricultural community).

        54.     These marketing efforts also included the production and distribution (in Hawaii

 and elsewhere) of ads and leaflets extolling the benefits of Paraquat. In many of these ads and

 leaflets, farmers are depicted using Paraquat without any personal protective equipment—they are



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 not wearing masks or gloves, not utilizing respirators; they are wearing everyday work clothes

 while mixing or spraying Paraquat.

                  Sales of Paraquat Mushroom as Evidence of Human Toxicity Mounts

        55.      Syngenta and Chevron’s aggressive marketing efforts had their desired effect—

 shortly after sale of Paraquat began in the United States, it became a blockbuster.

        56.     Many end-users purchased Paraquat from local farm collectives, supply stores, or

 agricultural organizations. And while, starting in the 1970s, Paraquat was technically a “restricted-

 use” pesticide—meaning that it was only supposed to be sold to licensed applicators who had

 received some basic safety training and passed a short exam—many local distributors sold to end-

 users (whom the local distributors had often known for years) who were not licensed applicators.

 In fact, many local distributors did not even mention the applicator requirement to purchasers of

 Paraquat, to the extent they knew of it themselves. And Syngenta and Chevron undertook no

 meaningful effort to ensure that only licensed applicators could acquire Paraquat.

        57.      While the sales of Paraquat in Hawaii and nationwide mushroomed, evidence of

 the herbicide’s toxicity to humans grew further.

        58.     Beginning in the mid-to-late 1960s, just a few years after Paraquat came on the

 market, several acute exposure incidents became known to Syngenta and Chevron. In these

 incidents, an end-user would accidentally ingest or otherwise be exposed to a large dose of

 Paraquat. These incidents were almost always fatal—the victim would succumb to acute trauma

 to oxygen-rich organs, usually within a few days of exposure.

        59.     These acute-exposure incidents often resulted in an autopsy of the victim, the

 results of which were supplied to Syngenta and Chevron. These autopsy results repeatedly showed




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 detectable amounts of Paraquat in the victim’s brain, as well as other oxygen-rich organs like the

 lungs.

          60.   Syngenta received similar autopsy results from outside the United States, which

 again showed that Paraquat was crossing the blood-brain barrier and entering the human brain.

          61.   These external reports were confirmed by internal research available to both

 Syngenta and Chevron.

          62.   In the face of mounting deaths from Paraquat poisoning, Syngenta was nonetheless

 resistant to updating its labeling to include a skull and crossbones out of fear that it would hurt

 their bottom line. And Defendants never sought to include any language on the Paraquat labeling

 related to potential central nervous system injury.

          63.   In 1969, Syngenta conducted (and shared with Chevron) a study that administered

 small amounts of Paraquat to lab animals via dermal exposure, oral exposure, and by injection into

 the abdomen. The study detected Paraquat in the exposed lab animals’ brains, leading to the

 conclusion that Paraquat could enter the brain and cause neurotoxicity.

          64.   Further research conducted in 1974 by Syngenta (and shared with Chevron and its

 contractors) revealed that Paraquat could pass through the blood-brain barrier by active transport.

 This means that instead of diffusing passively across the blood-brain barrier, Paraquat was actively

 transported by the body across the blood-brain barrier. Thus, Paraquat in the blood would

 ultimately end up in the brain.

          65.   Additionally, research available in the public domain and known to Syngenta and

 Chevron and their contractors, demonstrated that inhaled chemicals could pass directly into the

 brain via the olfactory bulb. This research showed that the olfactory bulb is not protected by the




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 blood-brain barrier. Thus, Paraquat inhaled by an end-user can enter the brain directly through the

 olfactory bulb without having to traverse the blood-brain barrier.

        66.     In about 1969, Syngenta scientists analyzing Paraquat concluded that low-dose

 exposure to the herbicide was likely to cause immediate neurotoxic damage, but that damage was

 unlikely to be detected until later. In other words, Paraquat was latently neurotoxic, Syngenta

 concluded. Chevron was made aware of these results and conclusions.

        67.     At the same time that Syngenta and Chevron knew that Paraquat in the blood could

 get into the brain (or enter the brain directly via the olfactory bulb) and cause damage that would

 not be discovered until later, they knew that end-users were being exposed to Paraquat such that it

 entered their bloodstream.

        68.     In 1969, a Syngenta scientist published the results of field studies conducted in

 Malaysia that attempted to measure the real-world Paraquat exposure of a Paraquat end user. The

 study followed several end-users as they mixed and sprayed Paraquat for agricultural purposes.

 The Syngenta researcher observed that workers generally did not wear protective equipment (and

 that none was supplied where they were working). Following Paraquat use, the researcher detected

 Paraquat in study participants’ urine. Though the researcher did not analyze participants’ blood,

 the fact that Paraquat was detectable in the participants’ urine meant that it had been processed

 through participants’ cardiopulmonary system and was in participants’ blood.

        69.     The results of this study were shared with or available to Chevron.

        70.     Later, in or about 1980, Syngenta and Chevron jointly conducted a study of

 agricultural working conditions that concluded that workers often came into contact with Paraquat

 by touching equipment (including spraying and mixing equipment) contaminated with Paraquat

 with their bare hands.



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        71.     By the beginning of the 1980s, Syngenta and Chevron, as well as their contractors

 and agents, were aware that end-users were commonly being exposed to low doses of Paraquat,

 which was entering their blood and crossing over into their brains (or entering their brains directly

 via the olfactory bulb) and causing damage that would not be detected until later.

        72.     Syngenta and Chevron were aware through field studies of the possibility of

 Paraquat to enter agricultural workers blood streams even if they were using protective equipment.

        73.     Syngenta and Chevron were aware through field studies that agricultural workers

 often did not follow the product labeling, necessitating additional precautions to keep them safe.

                       Paraquat Becomes a Lab Favorite for Inducing Parkinson’s

        74.     In 1982, after Syngenta and Chevron and their contractors and agents were aware

 that Paraquat was latently neurotoxic in end-users, the scientific community became aware of the

 connection between Paraquat and Parkinson’s disease.

        75.     That year, a group heroin users in California suddenly began exhibiting symptoms

 of advance-stage Parkinson’s disease.

        76.     Researchers determined that the heroin users had injected themselves with a

 chemical called MPTP as part of a botched attempt to get high. This discovery was a breakthrough

 in Parkinson’s disease research because it allowed researchers to cause Parkinson’s in lab animals

 using MPTP.

        77.     Almost immediately, scientists began turning to Paraquat because it was widely

 available and, chemically, is almost identical to MPTP. Starting in the 1980s and continuing to

 today, researchers use Paraquat exposure to induce Parkinson’s disease in lab animals.

        78.     The reason Paraquat induces Parkinson’s disease is that its redox cycling results in

 oxidative stress in the portion of the brain responsible for generating dopamine, the



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 neurotransmitter that controls voluntary movement. This oxidative stress interferes with dopamine

 production and results in Parkinson’s disease.

           79.    Parkinson’s disease is a progressive neurodegenerative disorder of the brain that

 affects primarily the motor system—the part of the central nervous system that controls movement.

           80.    The characteristic symptoms of Parkinson’s disease are its “primary” motor

 symptoms: resting tremor (shaking movement when the muscles are relaxed), bradykinesia

 (slowness in voluntary movement and reflexes), rigidity (stiffness and resistance to passive

 movement), and postural instability (impaired balance), among others.

           81.    Parkinson’s disease’s primary motor symptoms often result in “secondary” motor

 symptoms such as freezing of gait; shrinking handwriting; mask-like expression; slurred,

 monotonous, quiet voice; stooped posture; muscle spasms; impaired coordination; difficulty

 swallowing; and excess saliva and drooling caused by reduced swallowing movements, among

 others.

           82.    Non-motor symptoms—such as loss of or altered sense of smell; constipation; low

 blood pressure on rising to stand; sleep disturbances; and depression—are present in most cases

 of Parkinson’s disease, often for years before any of the primary motor symptoms appear.

           83.    There is currently no cure for Parkinson’s disease; no treatment will stop or reverse

 its progression. And the treatments most commonly prescribed for its motor symptoms tend to

 become progressively less effective, and to increasingly cause unwelcome side effects the longer

 they are used.

           84.    When Paraquat enters the body, it enters the brain and causes selective degeneration

 and death of dopaminergic neurons (dopamine-producing nerve cells) in a part of the brain called

 the substantia nigra pars compacta (“SNpc”).



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        85.     Dopamine is a neurotransmitter (a chemical messenger that transmits signals from

 one neuron to another neuron, muscle cell, or gland cell) that is critical to the brain’s control of

 motor function (among other things).

        86.     The death of dopaminergic neurons in the SNpc decreases the production of

 dopamine. Once dopaminergic neurons die, they are not replaced; when enough dopaminergic

 neurons have died, dopamine production falls below the level the brain requires for proper control

 of motor function, resulting in the motor symptoms of Parkinson’s disease.

        87.     The presence of Lewy bodies (insoluble aggregates of a protein called alpha-

 synuclein) in many of the remaining dopaminergic neurons in the SNpc is another of the primary

 pathophysiological hallmarks of Parkinson’s disease.

        88.     Dopaminergic neurons are particularly susceptible to oxidative stress, a disturbance

 in the normal balance between oxidants present in cells and cells’ antioxidant defenses.

        89.     Scientists who study Parkinson’s disease generally agree that oxidative stress is a

 major factor—if not the precipitating cause of—the degeneration and death of dopaminergic

 neurons in the SNpc and the accumulation of Lewy bodies in the remaining dopaminergic neurons

 that are the primary pathophysiological hallmarks of the disease.

        90.     Scientists seeking to study Parkinson’s disease use Paraquat to create oxidative

 stress because of “redox properties” that are inherent in Paraquat’s chemical composition and

 structure: it is a strong oxidant, and it readily undergoes “redox cycling” in the presence of

 molecular oxygen, which is plentiful in living cells.

        91.     The redox cycling of Paraquat in living cells interferes with cellular functions that

 are necessary to sustain life-with photosynthesis in plant cells, and with cellular respiration in

 animal cells. The redox cycling of Paraquat in living cells creates a “reactive oxygen species”



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 known as superoxide radical, an extremely reactive molecule that can initiate a cascading series of

 chemical reactions that creates other reactive oxygen species that damage lipids, proteins, and

 nucleic acids, molecules that are essential components of the structures and functions of living

 cells. Because the redox cycling of Paraquat can repeat indefinitely in the conditions typically

 present in living cells, a single molecule of Paraquat can trigger the production of countless

 molecules of destructive superoxide radical.

         92.    Syngenta, Chevron, and their contractors and agents, knew that Paraquat was

 neurotoxic, likely to enter the brains of end-users, and could cause Parkinson’s disease in

 particular.

                   Chevron Becomes Uneasy and Partially Exits the Paraquat Market

         93.    Syngenta and Chevron’s reaction to the growing scientific literature linking

 Paraquat and Parkinson’s was not to amend the label, warn their customers, or otherwise take any

 precautions. Instead, they claimed publicly in ads, leaflets, and through sales personnel that no link

 existed.

         94.    Despite their strong public statements to the contrary, worries grew within Chevron

 that Paraquat was neurotoxic.

         95.    The risks Chevron perceived were not to its loyal customers and end-users,

 however. Instead, Chevron worried that the labels it had lobbied for with state and federal

 regulators would be deemed insufficient, which would cast aspersions on the company’s credibility

 with regulators. And Chevron worried that it would be subject to mass tort liability for the latent

 injuries Paraquat was causing to end-users—the next asbestos, Chevron personnel fretted

 internally.




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        96.     But still, Chevron did nothing to warn the public or to alter its sales materials, which

 continued to depict farmers mixing and spraying Paraquat without wearing any protective

 equipment.

        97.     Meanwhile, Syngenta appeared to show no such compunctions. Instead of worrying

 about being the next asbestos, Syngenta (consistent with its partnership agreement with Chevron)

 began to sell Paraquat in the United States independently of Chevron in 1982 or 1983.

        98.     Chevron and Syngenta’s partnership agreement was due to terminate in 1986 absent

 a renegotiation and renewal. Despite their worries about the neurotoxicity of Paraquat, Chevron

 engaged in multiple rounds of detailed negotiations with Syngenta with a view to securing an

 extension to their partnership.

        99.     Ultimately, no such agreement was reached, and Chevron agreed to stop

 formulating and distributing Paraquat in or about 1986. However, Chevron still had a huge quantity

 of consumer-ready Paraquat in its possession. Some of that surplus was sold back to Syngenta, but

 some remained in Chevron’s possession and, in addition to other Chevron-formulated Paraquat,

 was ultimately sold to distributors and end-users as late as approximately the mid-1990s.

        100.    Part of Chevron’s calculus in departing the Paraquat business was economic. In

 1976, glyphosate had become available as another so-called “burn down” herbicide. Like Paraquat,

 glyphosate (which goes by the trade name Roundup) will kill just about any type of plant it comes

 into contact with. However, glyphosate is not as toxic in highly-concentrated doses and was

 perceived by many in agriculture as safer than Paraquat. Glyphosate is also sold pre-mixed with

 surfactant, making it cheaper and more convenient for end-users, who do not have to buy and mix

 a surfactant of their own.




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        101.       But a major part of Chevron’s departure from the Paraquat business was its

 knowledge that Paraquat was already causing progressive neurodegenerative disease in its

 customers.

        102.       At the time it ended its partnership with Syngenta, Chevron knew that there were

 no plans to warn end-users or anyone else about the dangers of low-dose Paraquat exposure.

        103.       At the time it ended its partnership with Syngenta, Chevron knew that the surfactant

 it manufactured, X-77, was recommended for use with Paraquat, including on certain Paraquat

 labels that instructed end-users to use X-77.

        104.       Chevron would continue to sell X-77 surfactants until at least 1993 and Chevron-

 designed and manufactured X-77 was still being sold on the market until at least approximately

 the late 1990s.

                       Evidence of the Paraquat–Parkinson’s Link Continues to Mount

        105.       At all relevant times, Syngenta and Chevron failed to perform simple neurological

 testing knowing that such testing would demonstrate the association of Paraquat and Parkinson’s

 Disease/Neurological injury.

        106.       In the registration or sale of Paraquat in the United States, Chevron did not conduct

 any toxicology or other studies on its own but instead relied on the studies of Syngenta. At all

 relevant times, Chevron possessed the technical capacity and resources to conduct toxicology and

 other studies of Paraquat but elected not to.

        107.       Chevron later characterized Syngenta’s studies as poorly done, outdated, and below

 the reasonable standards.

        108.       Chevron had particular concerns that Syngenta had no evidence supporting claims

 that were no chronic effects of continual Paraquat exposure.



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        109.      Syngenta did not perform any long-term neurotoxicity testing on Paraquat until

 2003. At all relevant times, Syngenta possessed the technical capacity and resources to conduct

 such research.

        110.      Chevron never performed any long-term neurotoxicity testing on Paraquat. At all

 relevant times, Chevron possessed the technical capacity and resources to conduct such research.

        111.      Syngenta and Chevron refused to perform any neurotoxicity testing on Paraquat

 with surfactant as used in a real-world application despite having the technical capacity and

 resources to do so.

        112.      As the years progressed, evidence that Paraquat causes Parkinson’s continued to

 mount. In light of this, Syngenta commissioned a series of in-house studies in 2003 to attempt to

 validate the scientific literature, which by then showed a significant decrease in dopaminergic

 neurons as a result of Paraquat exposure.

        113.      In the first round of studies, a Syngenta scientist used a manual method for counting

 dopaminergic neurons. This led the scientist to conclude that there was no statistically-significant

 loss of dopaminergic neurons following Paraquat exposure, thereby contradicting the growing

 scholarly literature and supporting Syngenta’s public statements that Paraquat does not cause

 Parkinson’s disease.

        114.      Syngenta saw to it that the scientist’s conclusions were published to much fanfare

 and widely reported in various outlets.

        115.      But the same Syngenta scientist later gained the ability to conduct a more precise,

 automated count of dopaminergic neurons. The Syngenta scientist then repeated the same studies,

 this time using the more precise counting method. In this second round, the scientist discovered a

 statistically-significant loss of dopaminergic neurons following Paraquat exposure. The scientist



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 concluded that, thanks to the more precise methodology in the second round of studies, it was

 highly likely that the growing body of scientific literature was correct: Paraquat exposure is

 associated with loss of dopaminergic neurons.

        116.    Unlike the first round of studies, Syngenta never published or otherwise publicly

 released the second round of the scientist’s studies—the ones linking Paraquat to Parkinson’s

 disease.

        117.    Though, to date, Syngenta has never contested the results of the second round of

 studies, they have withheld them from the public, the medical and scientific communities, and

 regulators. Syngenta has, however, repeatedly referred to the first round of studies publicly and in

 submissions to state and federal regulators.

        118.    In about 2004 or 2005, Syngenta communicated to its internal scientific and

 toxicology teams that under no circumstances should Paraquat be measured in the brain tissue of

 lab animals because detecting even a small amount could have negative implications for the

 company.

        119.    In addition to suppressing the results of its own studies showing a Paraquat-

 Parkinson’s connection, Syngenta has also engaged in an active campaign to discredit outside

 scientists whose research supports the growing consensus that Paraquat causes Parkinson’s

 disease.

        120.    For instance, Syngenta established a so-called Paraquat SWAT team to attack and

 discredit scientists whose results are contrary to Syngenta’s public statements. That team has taken

 various actions, including pressuring publishers to remove the word “Paraquat” from abstracts of

 scientific articles, apparently on the theory that few people read beyond the abstract.




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         121.    Syngenta also retained v-Fluence to develop a website called “paraquat.com,”

 which claims to share up-to-date information on the safety of Paraquat. Syngenta made efforts to

 promote paraquat.com such that it would appear higher in Google search results as opposed to

 other websites that might have warned end-users of Paraquat’s dangers. The EPA page on Paraquat

 even directs consumers to “paraquat.com.” The website falsely states that the science does not

 support a link between Paraquat exposure and Parkinson’s disease, despite Defendants’ knowledge

 to the contrary.

         122.    Independent Syngenta studies tell a vastly different story about the neurotoxicity of

 Paraquat. To begin with, several Syngenta-conducted or -commissioned studies from the late

 1990s and early 2000s confirmed what studies from earlier periods had already discovered: the

 intended users of Paraquat rarely used full safety equipment and came into frequent contact with

 small amounts of Paraquat while mixing (including adding the required surfactant) and spraying

 the herbicide. For instance, a 1995 study of workers in U.S. orchards found that only half of

 Paraquat users wore gloves.

         123.    Further, a 1997 Syngenta study based in Spain required workers to wear the

 recommended personal protective equipment as a condition of study participation. Syngenta

 personnel monitored the study participants to ensure that they used full personal protective

 equipment at all relevant times during the study. But despite these (mandatory) precautions, almost

 all of the study participants tested positive for Paraquat in their urine.

         124.    Other studies continued to confirm that Paraquat enters the brain. Concerned that

 lab rats may be too different from humans to generalize earlier findings, Syngenta commissioned

 a study using squirrel monkeys in 2010. Following administration of small, fixed doses of

 Paraquat, the squirrel monkeys were actually found to be more sensitive to Paraquat toxicity than



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 mice. What’s more, analysis of the monkey’s frontal cortex region showed no measurable decline

 in Paraquat levels in samples taken six weeks apart. Syngenta scientists concluded that Paraquat

 can enter the brain, that mammals similar to humans are more sensitive to the neurotoxic effects

 of Paraquat than lab rats, and that Paraquat does not easily leave the brain once there.

        125.    Syngenta did not publish the squirrel monkey studies. Nor did it report them to state

 or federal regulators. Syngenta kept these studies hidden.

        126.    But Syngenta did, in 2011, publish the results of what it called an epidemiological

 study of Syngenta employees involved in Paraquat manufacturing. The study purported to show

 that there is no statistically-significant increase in the prevalence of Parkinson’s disease among

 Syngenta employees who manufactured Paraquat. But the study was rejected by every reputable

 journal to which it was submitted. Even Syngenta’s own internal reviewers questioned the study’s

 validity. For one thing, Paraquat manufacture is a closed process: workers in the study (unlike

 Paraquat end-users) did not actually come into contact with Paraquat during manufacturing.

 Further, the Syngenta doctor that conducted the study relied exclusively on workers’ death

 certificates to determine whether or not they had Parkinson’s disease—a notoriously unreliable

 methodology because death certificates rarely list underlying conditions that ultimately cause

 death. In the end, Syngenta paid a substantial fee to publish the study in an open-source journal.

        127.    Despite these shortcomings, Syngenta has frequently cited this study as disproving

 any epidemiological link between Paraquat and Parkinson’s disease, both to the public and to state

 and federal regulators.

        128.    Paraquat.com falsely claims that there is no epidemiological evidence of a

 Paraquat-Parkinson’s connection. Syngenta has never conducted an epidemiological study save

 for the fatally flawed 2011 study that it essentially self-published.



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   Syngenta seeks assistance to Misrepresent the Risks of Paraquat Knowing that the Product
                    was Neurotoxic and Could Cause Parkinson’s Disease

        129.    In 2002, Syngenta entered into a contract with v-Fluence to provide research, online

 monitoring, and counsel on issues management as it related to Paraquat.

        130.    In July 2002, v-Fluence forwarded Syngenta a study noting deformity in frogs when

 exposed to pesticides. v-Fluence recommended that Syngenta use third-party groups and experts

 to respond to the toxicity claims. v-Fluence advised Syngenta that any direct comments from the

 company would only reinforce the researchers’ statements and give them more credibility. v-

 Fluence offered to provide a written response to downplay any safety risks and reaffirm Syngenta’s

 commitment to safety while reiterating farmers’ need for pesticides. Syngenta adopted these

 recommendations and implemented them into their corporate strategy for the next 20 years.

        131.    On or about October 8, 2002, Syngenta and v-Fluence formally amended their

 agreement to provide research, online monitoring, and counsel on issues management as it related

 to Paraquat. In the Addendum to the contract, v-Fluence noted that Paraquat is a leading target of

 activists and that other countries had not renewed the registration of Paraquat.

        132.    In October 2002, v-Fluence notified Syngenta of an Action Alert from the Pesticide

 Action Network (PAN). The Alert from PAN referred to Paraquat as was one of the world’s most

 deadly pesticides while asserting that Paraquat posed an unacceptable risk to the health and safety

 of product user and that several safer alternatives existed. Syngenta authorized v-Fluence to begin

 investigating PAN to formulate an attack and develop a strategic response.

        133.    In November 2002, v-Fluence drafted and provided Syngenta with a report

 analyzing Paraquat in the online landscape. In its report, v-Fluence noted that there were numerous

 reports linking Paraquat exposure to Parkinson’s disease. v-Fluence, however, noted that Paraquat

 was not a “hot topic” for the public with fewer than 800 nationwide, monthly searches.

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        134.    In its November 2002 report on Paraquat, v-Fluence provided Syngenta with short

 term recommendations on how to identify and combat emerging public concerns and neutralize

 critics of Paraquat. v-Fluence recommended that Syngenta develop simple messaging to contest

 negative information associating Paraquat with Parkinson’s disease, utilize third parties to publicly

 leverage the safety profile of Paraquat in the media, develop a rapid-response program to generate

 real-time responses to attacks on Paraquat, and create Paraquat.com, a website where Syngenta

 could implement these tactics.

        135.    From 2002 to the Present, v-Fluence assisted Syngenta in using search engine

 optimization tools and other means to manipulate the information that would appear on internet

 searches related to Paraquat and direct consumers to Paraquat-friendly content, including

 Paraquat.com. v-Fluence would further monitor the internet searching habits of the general public

 to determine whether those searches would lead to information regarding Paraquat’s neurotoxicity;

 and provide recommendations and strategies to manipulate the online environment to make

 information regarding the neurotoxicity of Paraquat more difficult to find.

        136.    Syngenta created Paraquat.com for the direct purpose of denying, minimizing, and

 neutralizing negative safety information relating to Paraquat. Paraquat.com has been continuously

 used by Syngenta to deny any association between Paraquat and Parkinson’s disease.

        137.    In September 2003, Syngenta executives developed a plan for handling threats to

 Syngenta and its products and defend the company’s license to operate. At the meeting, the group

 developed strategies to influence product users, proactively taking positions on regulatory actions,

 and using third party advocates to make Syngenta’s case to regulators and the public. The

 participants acknowledged that Paraquat was being attacked and that many Syngenta employees

 shared these negative perceptions of Paraquat. The participants used Paraquat as a case study in



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 how to deal with regulatory agencies in the future and agreed that the company needs to be

 proactive and adopt an approach of “defend or be damned.” It was agreed that Syngenta should

 enforce a policy of rebuttal against opponents of Paraquat.

                                 Warnings of a Paraquat–Parkinson’s Link

        138.    At no time has Syngenta publicly warned that exposure to Paraquat could cause

 Parkinson’s disease or a precursor ailment.

        139.    At no time has Chevron publicly warned that exposure to Paraquat could cause

 Parkinson’s disease or a precursor ailment.

        140.    This despite the fact that Syngenta and Chevron have admitted in that a Paraquat-

 Parkinson’s causal connection is biologically plausible, that the numerous internal studies that they

 have conducted and shared with each other and their contractors and agents demonstrate a

 Paraquat-Parkinson’s causal connection, and that numerous independent epidemiological studies

 have sounded the alarm of the catastrophic consequences.

        141.    All Defendants continue to publicly assert that Paraquat is safe and that it does not

 cause Parkinson’s disease or precursor ailments.

        142.    Defendants committed, and continue to commit, affirmative independent acts of

 concealment (including acts and omissions) to intentionally mislead end-users and the medical

 community as alleged above. This concealment prevented end-users, including Mr. Kagawa, from

 asserting their legal rights because the facts to support their causes of action were not apparent to

 a reasonably diligent person.

        143.    By 2005, Syngenta were aware that it would be subjected to a large number of

 lawsuits by plaintiffs who developed Parkinson’s disease if the general public became aware of

 the science supporting the link between Paraquat and Parkinson’s disease.



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        144.    To combat this potential for litigation, Syngenta thus embarked on a coordinated

 effort to generate scientific literature through paid contractors and through the publication of

 studies Syngenta knew to be highly flawed. Syngenta used this flawed science to attempt to

 invalidate the growing consensus by independent scientists and regulators that Paraquat caused

 Parkinson’s disease. Through this fraudulent manipulation of the scientific literature and to

 monitor and manipulate information in the media and the internet; Syngenta was able to conceal

 from victims of Paraquat, such as Mr. Kagawa, their legal cause of action and right to

 compensation. Only until recently has some evidence of Syngenta’s malfeasance become partially

 publicized. Through Syngenta’s efforts, they were able to forestall a mass tort action against it for

 decades allowing it to make substantial profits as it continued to sell Paraquat. Mr. Kagawa

 suffered emotionally and financially as a result of Syngenta fraudulent concealment of the dangers

 of Paraquat and of the facts supportive of Plaintiffs’ cause of action against Syngenta.

        145.    Defendants committed, and continue to commit, acts of fraud that caused end-users,

 including Mr. Kagawa, to relax their vigilance or deviate from their right of inquiry into the facts

 alleged in this complaint.

          Plaintiff Hiroshi Kagawa Was an End-User of Paraquat and Exposed in Reasonably
                                         Foreseeable Ways

        146.    Decedent Hiroshi Kagawa was first exposed to Paraquat in 1963. Mr. Kagawa lived

 and worked in Hawaii. Decedent Hiroshi Kagawa at all relevant times of exposure was a citizen

 and resident of Hawaii. Hiroshi Kagawa is the deceased and father of Kathleen Kaizuka. Decedent

 was exposed to Paraquat that he sprayed on his family nursery in which he resided from 1963-

 1973. Decedent was diagnosed with Parkinson’s disease in 1980’s. Decedent died in 2005.

        147.    Mr. Kagawa was exposed to Paraquat (1) when it was mixed, loaded, applied,

 and/or cleaned; (2) as a result of spray drift (the movement of Paraquat spray droplets from the

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 target to area to an area where Paraquat application was not intended, typically by wind); and/or

 (3) as a result of contact with sprayed plants and equipment covered in Paraquat. Paraquat came

 into contact with Mr. Kagawa’s skin and clothes. Mr. Kagawa inhaled Paraquat.

        148.     Mr. Kagawa was exposed to Paraquat designed by Syngenta.

        149.     Mr. Kagawa was exposed to Paraquat manufactured by Syngenta.

        150.     Mr. Kagawa was exposed to Paraquat distributed by Syngenta.

        151.     Mr. Kagawa was exposed to Paraquat designed by Chevron.

        152.     Mr. Kagawa was exposed to Paraquat manufactured by Chevron.

        153.     Mr. Kagawa was exposed to Paraquat distributed by Chevron.

        154.     Mr. Kagawa was exposed to Paraquat sold and distributed by Yamashiro Building

 & Supply, Inc

        155.     Mr. Kagawa used Paraquat as intended—that is, as an herbicide.

        156.     Mr. Kagawa would not have purchased or used Paraquat if he had known that it

 could cause neurological injury or Parkinson’s disease.

        157.     At all relevant times, it was reasonably foreseeable that when Paraquat was used in

 the intended or a reasonably foreseeable manner, users of Paraquat and persons nearby, such as

 Mr. Kagawa, would be exposed to it.

        158.     At all relevant times, it was reasonably foreseeable that Paraquat could enter Mr.

 Kagawa’s body: (1) through absorption or penetration of the skin, mucous membranes, and other

 epithelial tissues (including tissues of the mouth, nose and nasal passages, trachea, and conducting

 airways, particularly where cuts, abrasions, rashes, sores, or other tissue damage were present); (2)

 through the olfactory bulb; (3) through respiration into the lungs; and (4) through ingestion into




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 the digestive tract of small droplets swallowed after entering the mouth, nose, or conducting

 airways.

                     Plaintiff Hiroshi Kagawa Was Injured by His Contact with Paraquat

        159.       As a result of Mr. Kagawa’s contact with Paraquat, he developed Parkinson’s

 disease.

        160.       Parkinson’s disease is progressive and cannot be diagnosed using a blood test or

 other immediately-verifiable methodology.

        161.       Many individuals who suffer from, and will ultimately succumb to, Parkinson’s

 diseases do not yet have a Parkinson’s disease diagnosis.

        162.       Precursor ailments consist of symptomologies consistent with Parkinson’s disease

 and with an eventual Parkinson’s disease diagnosis.

        163.       Mr. Kagawa’s Parkinson’s disease progressed to become entirely debilitating. Mr.

 Kagawa lost the ability to control his motor functions. Mr. Kagawa became unable to live

 independently. Parkinson’s disease resulted in permanent physical injuries, pain, mental anguish,

 and disability.

        164.       Mr. Kagawa suffered general (non-economic) damages in a sum in excess of the

 jurisdictional minimum of this Court.

        165.       Mr. Kagawa suffered special (economic damages) in a sum in excess of the

 jurisdictional minimum of this Court.

                                        Plaintiffs’ Claims Are Timely

        166.       Plaintiffs filed suit within two years of learning that Mr. Kagawa’s exposures to

 Paraquat and/or surfactant designed, formulated, and manufactured by Defendants caused his

 Parkinson’s disease or precursor ailment.



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        167.    Plaintiffs had no reason to suspect that Mr. Kagawa’s injuries had anything to do

 with his exposure.

        168.    Plaintiffs were never told either by a medical professional, by media, or by the

 Defendants, that exposure to Paraquat could cause Mr. Kagawa to suffer Parkinson’s disease or a

 precursor ailment.

        169.    Plaintiffs did not know of the claims and          underlying facts asserted in this

 complaint, nor could any reasonable prudent person know of such claims.

        170.    Plaintiffs did not possess the sufficient critical facts to put them on notice that the

 wrongs and the acts and omissions discussed herein had been committed because Defendants were

 and continue to conceal the acts and omissions noted herein.

        171.    At all relevant times, Plaintiffs exercised reasonable diligence in investigating

 potential causes of their injuries by discussing their injuries with healthcare providers. None of the

 conversations gave Plaintiffs a reason to suspect, or reasonably should have given Plaintiffs a

 reason to suspect, that Paraquat or Defendants’ tortious conduct was the cause of such injuries.

        172.    Plaintiffss were reasonably unaware, and had no reasonable way of knowing, that

 the injuries described above were caused by Defendants’ conduct.

        173.    Further, Defendants’ acts and omissions misled Plaintiffs in regard to their causes

 of action and prevented them from asserting such rights because the facts which would support

 their causes of action as alleged in this complaint were not apparent to a reasonably prudent person.

        174.    Defendants also prevented Plaintiffs from asserting their rights by committing

 affirmative independent acts of concealment as noted above upon which Plaintiffs relied.

        175.    Defendants’ misconduct and fraudulent concealment of the relevant facts deprived

 Plaintiffs and Mr. Kagawa’s physicians of vital information essential to the pursuit of the claims



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 in this complaint, without any fault or lack of diligence on their part. Plaintiffs relied on

 Defendants’ misrepresentations and omissions and therefore could not reasonably have known or

 become aware of facts that would lead a reasonable, prudent person to make an inquiry to discover

 Defendants’ tortious conduct.

        176.    Defendants also affirmatively induced Plaintiffs to delay bringing this complaint

 by and through their acts and omissions as alleged herein.

        177.    In addition to the acts and omissions noted above, Defendants consistently

 misrepresented to Plaintiffs and/or Mr. Kagawa’ physicians that Paraquat was not the cause of any

 of Mr. Kagawa’s injuries to delay their bringing a claim against Defendants.

        178.    Plaintiffs relied on Defendants misrepresentations.

                             Plaintiffs Make No Claims Under Federal Law

        179.    Paraquat is regulated by government authorities, but Plaintiffs make no allegations

 under those statutes or their implementing regulations.

                a.     The Hawaii Pesticide Laws and Regulations, which regulates the labeling,

                distribution, use, and application of pesticides within Hawaii, requires that

                pesticides be registered with the Hawaii Department of Agriculture before they are

                sold in Hawaii.

                b.     The Federal Insecticide, Fungicide, and Rodenticide Act (“FIFRA”), 7

                U.S.C. § 136 et seq., which regulates the distribution, sale, and use of pesticides

                within the U.S., requires that pesticides be registered with the U.S. Environmental

                Protection Agency (“EPA”) prior to their distribution, sale, or use, except as

                described by FIFRA. 7 U.S.C. 136a(a).




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                c.      FIFRA has no private right of action and state tort claims do not arise under

                FIFRA.

        180.    The distribution or sale of a pesticide that is misbranded is an offense under FIFRA,

 which provides in relevant part that “it shall be unlawful for any person in any State to distribute

 or sell to any person ... any pesticide which is ... misbranded.” 7 U.S.C. § 136j(a)(1)(E). A pesticide

 is misbranded under FIFRA if, among other things: (1) its labeling bears any statement, design, or

 graphic representation relative thereto or to its ingredients which is false or misleading in any

 particular, 7 U.S.C. § 136(q)(1)(A); (2) the labeling accompanying it does not contain directions

 for use which are necessary for effecting the purpose for which the product is intended and if

 complied with, together with any requirements imposed under section 136a(d) of this title, are

 adequate to protect health and the environment, 7 U.S.C. § 136(q)(1)(F); or (3) the label does not

 contain a warning or caution statement which may be necessary and if complied with, together

 with any requirements imposed under section 136a(d) of this title, is adequate to protect health and

 the environment,” 7 U.S.C. § 136(q)(1)(G).

        181.    As a result, a pesticide may be misbranded despite an EPA determination that it

 met FIFRA’s registration criteria. In other words, notwithstanding its registration, a pesticide is

 misbranded if its label contains “false or misleading” statements, has inadequate instructions for

 use, or omits warnings or cautionary statements necessary to protect human health. Similarly, a

 pesticide may be found to cause unreasonable adverse effects on humans when used according to

 the approved label despite a determination by the EPA that it would not.

        182.    Plaintiffs do not seek in this action to impose on Defendants any labeling or

 packaging requirement in addition to or different from those required under FIFRA. Any allegation

 in this Complaint that a Defendant breached a duty to provide adequate directions for the use of or



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 warnings about Paraquat, breached a duty to provide adequate packaging for Paraquat, concealed,

 suppressed, or omitted to disclose any material fact about Paraquat, or engaged in any unfair or

 deceptive practice regarding Paraquat, is intended and should be construed to be consistent with

 that alleged breach concealment, suppression, or omission, or unfair or deceptive practice having

 rendered the Paraquat “misbranded” under FIFRA. However, Plaintiffs bring claims and seek

 relief in this action only under state law. Plaintiffs do not bring any claims or seek any relief in

 this action under FIFRA.

        183.    Plaintiffs’ causes of action are solely under state law.

                                      CAUSES OF ACTION

        COUNT I—STRICT PRODUCTS LIABILITY DESIGN DEFECT AGAINST
                              SYNGENTA
        184.    Plaintiffs incorporate all other allegations herein.

        185.    Syngenta designed, manufactured, and sold Paraquat that Mr. Kagawa was exposed

 to.

        186.    Mr. Kagawa’s exposure to Paraquat caused Mr. Kagawa’s Parkinson’s disease or

 precursor ailment that will progress into Parkinson’s disease.

        187.    Mr. Kagawa was an ordinary consumer of Paraquat or was exposed by virtue of his

 close contact with ordinary consumers of Paraquat.

        188.    Paraquat did not perform as safely as an ordinary consumer would have expected

 it to perform when used in an intended way, including:

                a.      An ordinary end-user of Paraquat would not have expected Paraquat to cross
                the blood-brain barrier and cause neurological injury even when personal protective
                equipment was used.

                b.      An ordinary end-user of Paraquat would not have expected Paraquat to cross
                the blood-brain barrier and cause neurological injury even when personal protective
                equipment was not used.


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               c.     An ordinary end-user of Paraquat would not have expected Paraquat to
               cause Parkinson’s disease or precursor ailment.


        189.   Paraquat did not perform as safely as an ordinary consumer would have expected

 it to perform when used in an unintended but reasonably foreseeable way, including:

               a.      An ordinary end-user of Paraquat would not have expected Paraquat to cross
               the blood-brain barrier and cause neurological injury even when personal protective
               equipment was used.

               b.      An ordinary end-user of Paraquat would not have expected Paraquat to cross
               the blood-brain barrier and cause neurological injury even when personal protective
               equipment was not used.

               c.     An ordinary end-user of Paraquat would not have expected Paraquat to
               cause Parkinson’s disease or precursor ailment.

        190.   Further, a reasonable person would conclude that possibility and seriousness of

 neurological injury caused by Paraquat, including Parkinson’s disease and precursor ailments,

 outweighed the burden or cost of making Paraquat safe. In particular:

               a.     It is highly likely that low-dose Paraquat exposure will result in
               neurological injury including Parkinson’s disease or a precursor ailment that will
               progress into Parkinson’s disease.

               b.     Parkinson’s disease is degenerative and chronic; there is no cure.
               Parkinson’s disease causes intense suffering and a breakdown of the ability to live
               a normal life. Parkinson’s disease is fatal.

               c.      The burden of making Paraquat safer was lesser than (i.e., outweighed by)
               the risk and seriousness of the injuries Paraquat causes.

               d.      The cost of making Paraquat safer was lesser than (i.e., outweighed by) the
               risk and seriousness of the injuries Paraquat causes.

        191.   The Paraquat to which Mr. Kagawa was exposed was unreasonably dangerous

 when it left Syngenta’s possession and control.

        WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in Plaintiffs’

 favor for compensatory and punitive damages, together with interest, costs herein incurred,

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 attorneys’ fees and all such other and further relief as this Court deems just and proper. Plaintiffs

 also demand a jury trial on the issues contained herein.

           COUNT II—STRICT PRODUCTS LIABILITY DESIGN DEFECT AGAINST
                                  CHEVRON

        192.    Plaintiffs incorporates all other allegations herein.

        193.    Chevron designed, manufactured, and sold Paraquat that Mr. Kagawa was exposed

 to.

        194.    Mr. Kagawa’s exposure to Paraquat caused his Parkinson’s disease or precursor

 ailment that will progress into Parkinson’s disease.

        195.    Mr. Kagawa was an ordinary consumer of Paraquat or was exposed by virtue of

 Mr. Kagawa’s close contact with ordinary consumers of Paraquat.

        196.    Paraquat did not perform as safely as an ordinary consumer would have expected

 it to perform when used in an intended way, including:

                        a.      An ordinary end-user of Paraquat would not have expected Paraquat
                        to cross the blood-brain barrier and cause neurological injury even when
                        personal protective equipment was used.

                        b.      An ordinary end-user of Paraquat would not have expected Paraquat
                        to cross the blood-brain barrier and cause neurological injury even when
                        personal protective equipment was not used.

                        c.     An ordinary end-user of Paraquat would not have expected Paraquat
                        to cause Parkinson’s disease or precursor ailment.

        197.    Paraquat did not perform as safely as an ordinary consumer would have expected

 it to perform when used in an unintended but reasonably foreseeable way, including:

                              a.       An ordinary end-user of Paraquat would not have expected
                        Paraquat to cross the blood-brain barrier and cause neurological injury even
                        when personal protective equipment was used.




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                              b.       An ordinary end-user of Paraquat would not have expected
                        Paraquat to cross the blood-brain barrier and cause neurological injury even
                        when personal protective equipment was not used.



                              c.       An ordinary end-user of Paraquat would not have expected
                        Paraquat to cause Parkinson’s disease or precursor ailment.

        198.    Further, a reasonable person would conclude that possibility and seriousness of

 neurological injury caused by Paraquat, including Parkinson’s disease and precursor ailments,

 outweighed the burden or cost of making Paraquat safe. In particular:

                                a.      It is highly likely that low-dose Paraquat exposure will result
                        in neurological injury including Parkinson’s disease or a precursor ailment
                        that will progress into Parkinson’s disease.

                                 b.      Parkinson’s disease is degenerative and chronic; there is no
                        cure. Parkinson’s disease causes intense suffering and a breakdown of the
                        ability to live a normal life. Parkinson’s disease is fatal.

                               c.    The burden of making Paraquat safer was lesser than (i.e.,
                        outweighed by) the risk and seriousness of the injuries Paraquat causes.

                               d.    The cost of making Paraquat safer was lesser than (i.e.,
                        outweighed by) the risk and seriousness of the injuries Paraquat causes.

        199.    The Paraquat to which Mr. Kagawa was exposed was unreasonably dangerous

 when it left Chevron’s possession and control.

        WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in Plaintiffs’

 favor for compensatory and punitive damages, together with interest, costs herein incurred,

 attorneys’ fees and all such other and further relief as this Court deems just and proper. Plaintiff

 also demands a jury trial on the issues contained herein.

     COUNT III—STRICT PRODUCTS LIABILITY FAILURE TO WARN AGAINST
                             SYNGENTA
        200.    Plaintiffs incorporate all other allegations herein.




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         201.   Syngenta is also liable to Plaintiffs under a products liability theory based on its

 failure to adequately warn of the risks of Paraquat.

         202.   When Syngenta manufactured and sold the Paraquat to which Mr. Kagawa was

 exposed, it was known or knowable to Syngenta in light of scientific knowledge that was generally

 accepted in the scientific community as well as Syngenta’s own internal research and information

 that:

                 a.      Paraquat was designed, manufactured, formulated, and packaged such that
         it was likely to be inhaled, ingested, and absorbed into the bodies of persons who used it,
         who were nearby while it was being used, or who entered fields or orchards where it had
         been sprayed or areas near where it had been sprayed.

                b.      When inhaled, ingested, or absorbed into the body, it was likely cause latent
         neurological damage that was both permanent and cumulative, and that repeated, low- dose
         exposures were likely to cause neurodegenerative disease, including Parkinson’s disease.



         203.   The risk of contracting Parkinson’s disease from low-dose exposure to Paraquat

 presented a substantial danger to users of Paraquat when the product was used in a reasonably

 foreseeable manner.

         204.   An ordinary consumer would not have recognized the potential risk of permanent,

 irreversible neurological damage, including the risk of contracting Parkinson’s disease, from low-

 dose exposure to Paraquat.

         205.   Syngenta failed to warn of the potential risk of permanent, irreversible neurological

 damage from low-dose exposure to Paraquat.

         206.   As a direct and proximate result of Syngenta marketing a defective product, Mr.

 Kagawa suffered the injuries described in this Complaint.

         WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in Plaintiffs’

 favor for compensatory and punitive damages, together with interest, costs herein incurred,


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 attorneys’ fees and all such other and further relief as this Court deems just and proper. Plaintiffs

 also demand a jury trial on the issues contained herein.

         COUNT IV—STRICT PRODUCTS LIABILITY FAILURE TO WARN AGAINST
                                 CHEVRON

         207.   Plaintiffs incorporate all other allegations herein.

         208.   Chevron is also liable to Plaintiffs under a products liability theory based on its

 failure to adequately warn of the risks of Paraquat.

         209.   When Chevron manufactured and sold the Paraquat to which Mr. Kagawa was

 exposed, it was known or knowable to Chevron in light of scientific knowledge that was generally

 accepted in the scientific community as well as Chevron’s own internal research and information

 that:

                 a.      Paraquat was designed, manufactured, formulated, and packaged such that
         it was likely to be inhaled, ingested, and absorbed into the bodies of persons who used it,
         who were nearby while it was being used, or who entered fields or orchards where it had
         been sprayed or areas near where it had been sprayed.

                b.      When inhaled, ingested, or absorbed into the body, it was likely cause latent
         neurological damage that was both permanent and cumulative, and that repeated, low- dose
         exposures were likely to cause neurodegenerative disease, including Parkinson’s disease.

         210.   The risk of contracting Parkinson’s disease from low-dose exposure to Paraquat

 presented a substantial danger to users of Paraquat when the product was used in a reasonably

 foreseeable manner.

         211.   An ordinary consumer would not have recognized the potential risk of permanent,

 irreversible neurological damage, including the risk of contracting Parkinson’s disease, from low-

 dose exposure to Paraquat.

         212.   Chevron failed to warn of the potential risk of permanent, irreversible neurological

 damage from low-dose exposure to Paraquat.



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        213.    As a direct and proximate result of Chevron marketing a defective product, Mr.

 Kagawa suffered the injuries described in this Complaint.

        WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in Plaintiffs’

 favor for compensatory and punitive damages, together with interest, costs herein incurred,

 attorneys’ fees and all such other and further relief as this Court deems just and proper. Plaintiffs

 also demand a jury trial on the issues contained herein.

         COUNT V—STRICT PRODUCTS LIABILITY FAILURE TO WARN AGAINST
                     YAMASHIRO BUILDING & SUPPLY, INC.

        214.    Plaintiffs incorporate all other allegations herein.

        215.    Yamashiro Building & Supply, Inc. is also liable to Plaintiffs under a products

 liability theory based on its failure to adequately warn of the risks of Paraquat.

        216.    When Yamashiro Building & Supply, Inc. participated in the marketing and

 promotion of Paraquat to which Mr. Kagawa was exposed, it was known or knowable to

 Yamashiro Building & Supply, Inc. in light of scientific knowledge that was generally accepted in

 the scientific community that:

                a.      Paraquat was designed, manufactured, formulated, and packaged such that
        it was likely to be inhaled, ingested, and absorbed into the bodies of persons who used it,
        who were nearby while it was being used, or who entered fields or orchards where it had
        been sprayed or areas near where it had been sprayed.

               b.      When inhaled, ingested, or absorbed into the body, it was likely cause latent
        neurological damage that was both permanent and cumulative, and that repeated, low- dose
        exposures were likely to cause neurodegenerative disease, including Parkinson’s disease.

        217.    The risk of contracting Parkinson’s disease from low-dose exposure to Paraquat

 presented a substantial danger to users of Paraquat when the product was used in a reasonably

 foreseeable manner.




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        218.    An ordinary consumer would not have recognized the potential risk of permanent,

 irreversible neurological damage, including the risk of contracting Parkinson’s disease, from low-

 dose exposure to Paraquat.

        219.    Yamashiro Building & Supply, Inc. failed to warn of the potential risk of

 permanent, irreversible neurological damage from low-dose exposure to Paraquat.

        220.    As a direct and proximate result of Yamashiro Building & Supply, Inc. marketing

 a defective product, Mr. Kagawa suffered the injuries described in this Complaint.

        WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in Plaintiffs’

 favor for compensatory and punitive damages, together with interest, costs herein incurred,

 attorneys’ fees and all such other and further relief as this Court deems just and proper. Plaintiffs

 also demand a jury trial on the issues contained herein.

                     COUNT VI—NEGLIGENCE AGAINST SYNGENTA

        221.    Plaintiffs incorporate all other allegations herein.

        222.    Syngenta designed, manufactured, distributed, and sold Paraquat to which Mr.

 Kagawa was exposed.

        223.    The Paraquat to which Mr. Kagawa was exposed was used in the intended and/or a

 reasonably foreseeable manner.

        224.    At all times relevant to this claim, in researching, designing, manufacturing,

 packaging, labeling, distributing, and selling Paraquat, Syngenta owed a duty to exercise ordinary

 care for the health and safety of the persons whom it was reasonably foreseeable could be exposed

 to Paraquat, including Mr. Kagawa.

        225.    When Syngenta designed, manufactured, packaged, labeled, distributed, and sold

 the Paraquat to which Mr. Kagawa was exposed, it was reasonably foreseeable that Paraquat:



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              a.      Was likely to be inhaled, ingested, and absorbed into the bodies of persons
       who used it, who were nearby while it was being used, or who entered fields or orchards
       where it had been sprayed or areas near where it had been sprayed.

              b.     When inhaled, ingested, or absorbed into the bodies of persons who used it,
       who were nearby while it was being used, or who entered fields or orchards where it has
       been sprayed or areas near where it has been sprayed, it was likely to cause neurological
       damage that was both permanent and cumulative, and repeated exposures were likely to
       cause neurodegenerative disease, including Parkinson’s disease.

       226.   In breach of the aforementioned duties to Mr. Kagawa, Syngenta negligently:

              a.       Failed to design, manufacture, formulate, and package Paraquat to make it
       unlikely to be inhaled, ingested, and absorbed into the bodies of persons who used it, who
       were nearby while it was being used, or who entered fields or orchards where it had been
       sprayed or areas near where it had been sprayed.

              b.      Designed, manufactured, and formulated Paraquat such that it was likely to
       cause neurological damage that was both permanent and cumulative, and repeated
       exposures were likely to cause clinically significant neurodegenerative disease, including
       Parkinson’s disease.

              c.      Failed to conduct adequate research and testing to determine the extent to
       which exposure to Paraquat was likely to occur through inhalation, ingestion, and
       absorption into the bodies of persons who used it, who were nearby while it was being
       used, or who entered fields or orchards where it had been sprayed or areas near where it
       had been sprayed.

               d.      Failed to conduct adequate research and testing to determine the extent to
       which Paraquat spray drift was likely to occur, including its propensity to drift, the distance
       it was likely to drift, and the extent to which Paraquat spray droplets were likely to enter
       the bodies of persons spraying it or other persons nearby during or after spraying.

               e.     Failed to conduct adequate research and testing to determine the extent to
       which Paraquat was likely to cause or contribute to cause latent neurological damage that
       was both permanent and cumulative, and the extent to which repeated exposures were
       likely to cause or contribute to cause clinically significant neurodegenerative disease,
       including Parkinson’s disease.

              f.       Failed to direct that Paraquat be used in a manner that would have made it
       unlikely to be inhaled, ingested, and absorbed into the bodies of persons who used it, who
       were nearby while it was being used, or who entered fields or orchards where it had been
       sprayed or areas near where it had been sprayed.




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                g.     Failed to warn that Paraquat was likely to cause neurological damage that
        was both permanent and cumulative, and repeated exposures were likely to cause clinically
        significant neurodegenerative disease, including Parkinson’s disease.

        227.    Syngenta knew or should have known that users would not realize the dangers of

 exposure to Paraquat and negligently failed to take reasonable steps to prevent the foreseeable risk

 of harm from exposure to Paraquat.

        228.    As a direct and proximate result of Syngenta’s negligence, Mr. Kagawa suffered

 the injuries described in this Complaint.

        WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in Plaintiffs’

 favor for compensatory and punitive damages, together with interest, costs herein incurred,

 attorneys’ fees and all such other and further relief as this Court deems just and proper. Plaintiffs

 also demand a jury trial on the issues contained herein.

                         COUNT VII—NEGLIGENCE AGAINST CHEVRON

        229.    Plaintiffs incorporate all other allegations herein.

        230.    Chevron designed, manufactured, distributed, and sold Paraquat to which Mr.

 Kagawa was exposed.

        231.    The Paraquat to which Mr. Kagawa was exposed was used in the intended and/or a

 reasonably foreseeable manner.

        232.    At all times relevant to this claim, in researching, designing, manufacturing,

 packaging, labeling, distributing, and selling Paraquat, Chevron owed a duty to exercise ordinary

 care for the health and safety of the persons whom it was reasonably foreseeable could be exposed

 to Paraquat, including Mr. Kagawa.

        233.    When Chevron designed, manufactured, packaged, labeled, distributed, and sold

 the Paraquat to which Mr. Kagawa was exposed, it was reasonably foreseeable that Paraquat:



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              a.      Was likely to be inhaled, ingested, and absorbed into the bodies of persons
       who used it, who were nearby while it was being used, or who entered fields or orchards
       where it had been sprayed or areas near where it had been sprayed.

              b.     When inhaled, ingested, or absorbed into the bodies of persons who used it,
       who were nearby while it was being used, or who entered fields or orchards where it has
       been sprayed or areas near where it has been sprayed, it was likely to cause neurological
       damage that was both permanent and cumulative, and repeated exposures were likely to
       cause neurodegenerative disease, including Parkinson’s disease.

       234.   In breach of the aforementioned duties to Mr. Kagawa, Chevron negligently:

              a.       Failed to design, manufacture, formulate, and package Paraquat to make it
       unlikely to be inhaled, ingested, and absorbed into the bodies of persons who used it, who
       were nearby while it was being used, or who entered fields or orchards where it had been
       sprayed or areas near where it had been sprayed.

              b.      Designed, manufactured, and formulated Paraquat such that it was likely to
       cause neurological damage that was both permanent and cumulative, and repeated
       exposures were likely to cause clinically significant neurodegenerative disease, including
       Parkinson’s disease.

              c.      Failed to conduct adequate research and testing to determine the extent to
       which exposure to Paraquat was likely to occur through inhalation, ingestion, and
       absorption into the bodies of persons who used it, who were nearby while it was being
       used, or who entered fields or orchards where it had been sprayed or areas near where it
       had been sprayed.

               d.      Failed to conduct adequate research and testing to determine the extent to
       which Paraquat spray drift was likely to occur, including its propensity to drift, the distance
       it was likely to drift, and the extent to which Paraquat spray droplets were likely to enter
       the bodies of persons spraying it or other persons nearby during or after spraying.

               e.      Failed to conduct adequate research and testing to determine the extent to
       which Paraquat was likely to cause or contribute to cause latent neurological damage that
       was both permanent and cumulative, and the extent to which repeated exposures were
       likely to cause or contribute to cause clinically significant neurodegenerative disease,
       including Parkinson’s disease.
               f.      Failed to direct that Paraquat be used in a manner that would have made it
       unlikely to be inhaled, ingested, and absorbed into the bodies of persons who used it, who
       were nearby while it was being used, or who entered fields or orchards where it had been
       sprayed or areas near where it had been sprayed.

               g.     Failed to warn that Paraquat was likely to cause neurological damage that
       was both permanent and cumulative, and repeated exposures were likely to cause clinically
       significant neurodegenerative disease, including Parkinson’s disease.

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        235.    Chevron knew or should have known that users would not realize the dangers of

 exposure to Paraquat and negligently failed to take reasonable steps to prevent the foreseeable risk

 of harm from exposure to Paraquat.

        236.    As a direct and proximate result of Chevron’s negligence, Mr. Kagawa suffered the

 injuries described in this Complaint.

        WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in Plaintiffs’

 favor for compensatory and punitive damages, together with interest, costs herein incurred,

 attorneys’ fees and all such other and further relief as this Court deems just and proper. Plaintiffs

 also demand a jury trial on the issues contained herein.

 COUNT VIII —NEGLIGENCE AGAINST YAMASHIRO BUILDING & SUPPLY, INC.

        237.    Plaintiffs incorporates all other allegations herein.

        238.    Yamashiro Building & Supply, Inc. marketed and promoted misleading safety

 information related to Paraquat during the timeframes in which Mr. Kagawa was exposed.

        239.    The Paraquat to which Mr. Kagawa was exposed was used in the intended and/or a

 reasonably foreseeable manner.

        240.    At all times relevant to this claim, in marketing and promoting Paraquat, Yamashiro

 Building & Supply, Inc. owed a duty to exercise ordinary care for the health and safety of the

 persons whom it was reasonably foreseeable could be exposed to Paraquat, including Mr. Kagawa.

        241.    When Yamashiro Building & Supply, Inc. marketed and promoted Paraquat during

 the timeframe to which Mr. Kagawa was exposed, it was reasonably foreseeable that Paraquat:

               a.      Was likely to be inhaled, ingested, and absorbed into the bodies of persons
        who used it, who were nearby while it was being used, or who entered fields or orchards
        where it had been sprayed or areas near where it had been sprayed.




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               b.     When inhaled, ingested, or absorbed into the bodies of persons who used it,
        who were nearby while it was being used, or who entered fields or orchards where it has
        been sprayed or areas near where it has been sprayed, it was likely to cause neurological
        damage that was both permanent and cumulative, and repeated exposures were likely to
        cause neurodegenerative disease, including Parkinson’s disease.

        242.    In breach of the aforementioned duties to Mr. Kagawa, Yamashiro Building &

 Supply, Inc. negligently:

               a.      Failed to conduct adequate research and testing to determine the extent to
        which exposure to Paraquat was likely to occur through inhalation, ingestion, and
        absorption into the bodies of persons who used it, who were nearby while it was being
        used, or who entered fields or orchards where it had been sprayed or areas near where it
        had been sprayed.

                b.     Failed to conduct adequate research and testing to determine the extent to
        which Paraquat was likely to cause or contribute to cause latent neurological damage that
        was both permanent and cumulative, and the extent to which repeated exposures were
        likely to cause or contribute to cause clinically significant neurodegenerative disease,
        including Parkinson’s disease.

               c.       Failed to direct that Paraquat be used in a manner that would have made it
        unlikely to be inhaled, ingested, and absorbed into the bodies of persons who used it, who
        were nearby while it was being used, or who entered fields or orchards where it had been
        sprayed or areas near where it had been sprayed.

                d.     Failed to warn that Paraquat was likely to cause neurological damage that
        was both permanent and cumulative, and repeated exposures were likely to cause clinically
        significant neurodegenerative disease, including Parkinson’s disease.

        243.    Yamashiro Building & Supply, Inc. knew or should have known that users would

 not realize the dangers of exposure to Paraquat and negligently failed to take reasonable steps to

 prevent the foreseeable risk of harm from exposure to Paraquat.

        244.    As a direct and proximate result of Yamashiro Building & Supply, Inc.’s

 negligence, Mr. Kagawa suffered the injuries described in this Complaint.

        WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in Plaintiffs’

 favor for compensatory and punitive damages, together with interest, costs herein incurred,




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 attorneys’ fees and all such other and further relief as this Court deems just and proper. Plaintiffs

 also demand a jury trial on the issues contained herein.

      COUNT IX—BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                         AGAINST SYNGENTA
        245.    Plaintiffs incorporate all other allegations herein.

        246.    At all relevant times Syngenta engaged in the business of designing, manufacturing,

 distributing, and selling Paraquat and other pesticides and held themselves out as having special

 knowledge or skill regarding Paraquat and other pesticides.

        247.    At all relevant times, Syngenta designed, manufactured, distributed, and sold

 Paraquat for use in Hawaii and nationally.

        248.    Mr. Kagawa was exposed to Paraquat that Syngenta marketed, designed,

 manufactured, distributed, and/or sold.

        249.    The Paraquat to which Mr. Kagawa was exposed was not fit for the ordinary

 purposes for which it was used, and in particular:

                a.      It was designed, manufactured, formulated, and packaged such that it was
        likely to be inhaled, ingested, and absorbed into the bodies of persons who used it, who
        were nearby while it was being used, or who entered fields or orchards where it had been
        sprayed or areas near where it had been sprayed.

               b.     When inhaled, ingested, or absorbed into the bodies of persons who used it,
        who were nearby while it was being used, or who entered fields or orchards where it had
        been sprayed or areas near where it had been sprayed, it was likely to cause neurological
        damage that was both permanent and cumulative, and repeated exposures were likely to
        cause neurodegenerative disease, including Parkinson’s disease.

        250.    As a direct and proximate result of Syngenta’s breach of implied warranty, Mr.

 Kagawa suffered the injuries alleged in this Complaint.

        WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in Plaintiffs’

 favor for compensatory and punitive damages, together with interest, costs herein incurred,



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 attorneys’ fees and all such other and further relief as this Court deems just and proper. Plaintiffs

 also demand a jury trial on the issues contained herein.

          COUNT X—BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                             AGAINST CHEVRON

        251.    Plaintiffs incorporate all other allegations herein.

        252.    At all relevant times Chevron engaged in the business of designing, manufacturing,

 distributing, and selling Paraquat and other pesticides and held themselves out as having special

 knowledge or skill regarding Paraquat and other pesticides.

        253.    At all relevant times, Chevron designed, manufactured, distributed, and sold

 Paraquat for use in Hawaii and nationally.

        254.    Mr. Kagawa was exposed to Paraquat that Chevron marketed, designed,

 manufactured, distributed, and/or sold.

        255.    The Paraquat to which Mr. Kagawa was exposed was not fit for the ordinary

 purposes for which it was used, and in particular:

                a.      It was designed, manufactured, formulated, and packaged such that it was
        likely to be inhaled, ingested, and absorbed into the bodies of persons who used it, who
        were nearby while it was being used, or who entered fields or orchards where it had been
        sprayed or areas near where it had been sprayed.

               b.     When inhaled, ingested, or absorbed into the bodies of persons who used it,
        who were nearby while it was being used, or who entered fields or orchards where it had
        been sprayed or areas near where it had been sprayed, it was likely to cause neurological
        damage that was both permanent and cumulative, and repeated exposures were likely to
        cause neurodegenerative disease, including Parkinson’s disease.

        256.    As a direct and proximate result Chevron’s breach of implied warranty, Mr.

 Kagawa suffered the injuries alleged in this Complaint.

        WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in Plaintiffs’

 favor for compensatory and punitive damages, together with interest, costs herein incurred,



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 attorneys’ fees and all such other and further relief as this Court deems just and proper. Plaintiffs

 also demand a jury trial on the issues contained herein.

                              COUNT XI
       FRAUD, MISREPRESENTATION, AND SUPPRESSION AGAINST SYNGENTA


           257.   Plaintiffs incorporate by reference all of the above paragraphs as if set forth in full

 herein.

           258.   Defendant Syngenta fraudulently, intentionally, and/or negligently misrepresented

 to the public, and to Mr. Kagawa, both directly and by and through the media and the scientific

 literature, the safety of Paraquat products, and/or fraudulently, intentionally, and/or negligently

 concealed, suppressed, or omitted material, adverse information regarding the safety of Paraquat.

           259.   The intentional and/or negligent misrepresentations and omissions of the Defendant

 regarding the safety of Paraquat products were communicated to Mr. Kagawa directly through

 scientific articles and editorials generated by Syngenta and propagated through the internet and

 other media, national and regional advertising, marketing and promotion efforts, as well as the

 packaging and sales aids. The safety of Paraquat products was also intentionally and/or negligently

 misrepresented to Mr. Kagawa and the public with the intent that such misrepresentations would

 cause Mr. Kagawa and other potential consumers to purchase and use or continue to purchase and

 use Paraquat products.

           260.   Defendant either knew or should have known of the material representations they

 were making regarding the safety and relative utility of Paraquat products.

           261.   Defendant     fraudulently,    intentionally,   and/or     negligently    made     the

 misrepresentations and/or actively concealed, suppressed, or omitted this material information

 with the specific desire to induce Mr. Kagawa, and the consuming public to purchase and use


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 Paraquat products. Defendant fraudulently, intentionally, and/or negligently, knew or should have

 known that Mr. Kagawa and the consuming public would rely on such material misrepresentations

 and/or omissions in selecting and applying Paraquat products. Defendant knew or should have

 known that Mr. Kagawa would rely on their false representations and omissions.

        262.    Defendants made these misrepresentations and actively concealed adverse

 information including the risk of Parkinson’s disease, at a time when, their agents and/or

 employees knew or should have known, the product had defects, dangers, and characteristics that

 were other than what was represented to the consuming public. Despite the fact that Defendant

 knew or should have known of reports of severe risks including Parkinson’s Disease with Paraquat

 use and exposure, this information was strategically minimized, understated, or omitted.

        263.    The fraudulent, intentional and/or negligent material misrepresentations and/or

 active concealment, suppression, and omissions by Defendant was perpetuated directly and/or

 indirectly through the advertisements, packaging, sales aids, furtive public relations efforts, and

 other marketing and promotional pieces authored, analyzed, created, compiled, designed, drafted,

 disseminated, distributed, edited, evaluated, marketed, published, and supplied by Defendant.

        264.    If Mr. Kagawa had known the true facts concerning the risks associated with

 Paraquat exposure, Mr. Kagawa would have used a safer alternative.

        265.    Mr. Kagawa’s reliance upon the material misrepresentations and omissions was

 justified, among other reasons, because said misrepresentations and omissions were made by

 individuals and entities who were in a position to know the true facts concerning Paraquat while

 Mr. Kagawa was not in a position to know the true facts because Defendant overstated the benefits

 and safety of Paraquat and downplayed the risk of Parkinson’s Disease, thereby inducing Mr.

 Kagawa to use the herbicide rather than safer alternatives.



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           266.   As a direct and proximate result of Defendant’s actions and inactions, Mr. Kagawa

 was exposed to Paraquat and suffered injuries and damages, as set forth herein.

           WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in Plaintiffs’

 favor for compensatory and punitive damages, together with interest, costs herein incurred,

 attorneys’ fees and all such other and further relief as this Court deems just and proper. Plaintiffs

 also demand a jury trial on the issues contained herein.

                                              COUNT XII

     FRAUD, MISREPRESENTATION, AND SUPPRESION AGAINST YAMASHIRO
                       BUILDING & SUPPLY, INC.

           267.   Plaintiffs incorporate by reference all of the above paragraphs as if set forth in full

 herein.

           268.   Defendant Yamashiro Building & Supply, Inc. fraudulently, intentionally, and/or

 negligently misrepresented to the public, and to Mr. Kagawa, both directly and by and through the

 media and the scientific literature, the safety of Paraquat products, and/or fraudulently,

 intentionally, and/or negligently concealed, suppressed, or omitted material, adverse information

 regarding the safety of Paraquat.

           269. The intentional and/or negligent misrepresentations and omissions of the Defendant

 regarding the safety of Paraquat products were communicated to Mr. Kagawa directly through

 scientific articles and editorials generated by Defendants and propagated through the internet and

 other media, national and regional advertising, marketing and promotion efforts, as well as the

 packaging and sales aids. The safety of Paraquat products was also intentionally and/or negligently

 misrepresented to Mr. Kagawa and the public with the intent that such misrepresentations would

 cause Mr. Kagawa and other potential consumers to purchase and use or continue to purchase and

 use Paraquat products.

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        270.    Defendant either knew or should have known of the material representations they

 were making regarding the safety and relative utility of Paraquat products.

        271.    Defendant     fraudulently,   intentionally,   and/or    negligently    made     the

 misrepresentations and/or actively concealed, suppressed, or omitted this material information

 with the specific desire to induce Mr. Kagawa, and the consuming public to purchase and use

 Paraquat products. Defendant fraudulently, intentionally, and/or negligently, knew or should have

 known that Mr. Kagawa and the consuming public would rely on such material misrepresentations

 and/or omissions in selecting and applying Paraquat products. Defendant knew or should have

 known that Mr. Kagawa would rely on their false representations and omissions.

        272.    Defendant made these misrepresentations and actively concealed adverse

 information including the risk of Parkinson’s Disease, at a time when, their agents and/or

 employees knew or should have known, the product had defects, dangers, and characteristics that

 were other than what was represented to the consuming public. Despite the fact that Defendant

 knew or should have known of reports of severe risks including Parkinson’s Disease with Paraquat

 use and exposure, this information was strategically minimized, understated, or omitted.

        273.    The fraudulent, intentional and/or negligent material misrepresentations and/or

 active concealment, suppression, and omissions by Defendant was perpetuated directly and/or

 indirectly through the advertisements, packaging, sales aids, furtive public relations efforts, and

 other marketing and promotional pieces authored, analyzed, created, compiled, designed, drafted,

 disseminated, distributed, edited, evaluated, marketed, published, and supplied by Defendant.

        274.    If Mr. Kagawa had known the true facts concerning the risks associated with

 Paraquat exposure, Mr. Kagawa would have used a safer alternative.




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           275.   Mr. Kagawa’s reliance upon the material misrepresentations and omissions was

 justified, among other reasons, because said misrepresentations and omissions were made by

 individuals and entities who were in a position to know the true facts concerning Paraquat while

 Mr. Kagawa was not in a position to know the true facts because Defendant overstated the benefits

 and safety of Paraquat and downplayed the risk of Parkinson’s Disease, thereby inducing Mr.

 Kagawa to use the herbicide rather than safer alternatives.

           276.   As a direct and proximate result of Defendant’s actions and inactions, Mr. Kagawa

 was exposed to Paraquat and suffered and will continue to suffer injuries and damages, as set forth

 herein.

           WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in Plaintiffs’

 favor for compensatory and punitive damages, together with interest, costs herein incurred,

 attorneys’ fees and all such other and further relief as this Court deems just and proper. Plaintiffs

 also demand a jury trial on the issues contained herein.



                                              COUNT XIII

   FRAUDULENT CONCEALMENT OF CAUSE OF ACTION AGAINST SYNGENTA
                   PURSUANT TO HAWAII § 657-20

           277.   Plaintiffs incorporate by reference all of the above paragraphs as if set forth in full.

           278.   Syngenta knew it would be subject to lawsuits by Paraquat users who developed if

 the public became aware of the scientific data linking Paraquat to Parkinson’s disease.

           279.   Syngenta engaged in an intentional fraudulent effort to prevent its past customers

 from finding out truthful information about the link between Paraquat and Parkinson’s disease in

 order to forestall lawsuits against it. Syngenta further took affirmative steps to fraudulently

 manipulate the scientific literature, the media, and regulatory agencies to promote a false message

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 that Paraquat was safe and was not neurotoxic. Syngenta’s actions included monitoring internet

 searches by the public related to Parkinson’s disease litigation; and to develop strategies to prevent

 such searches from bringing up websites containing information about linking Paraquat to

 Parkinson’s disease.

        280.    For years, Syngenta’s actions concealed from Mr. Kagawa the fact that Mr. Kagawa

 had a claim against Defendant. Syngenta profited off this delay while Mr. Kagawa continued to

 suffer without obtaining justice or compensation for his injuries.

        WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in Plaintiffs’

 favor for compensatory and punitive damages, together with interest, costs herein incurred,

 attorneys’ fees and all such other and further relief as this Court deems just and proper. Plaintiffs

 also demand a jury trial on the issues contained herein.

                                                COUNT XIV

                 VIOLATION OF THE CONSUMER FRAUD ACTS AGAINST ALL
                                 DEFENDANTS

        281.    Plaintiffs incorporate by reference all of the above paragraphs as if set forth in full.

        282.    Defendants fraudulently, intentionally, and/or negligently misrepresented to the

 public, and to Mr. Kagawa, both directly and by and through the media and the scientific literature,

 the safety of Paraquat products, and/or fraudulently, intentionally, and/or negligently concealed,

 suppressed, or omitted material, adverse information regarding the safety of Paraquat. This

 deception caused injury to Mr. Kagawa in violation of the Consumer Fraud Acts of Hawaii which

 create private rights of action by Mr. Kagawa.

        283.    The intentional and/or negligent misrepresentations and omissions of the

 Defendants regarding the safety of Paraquat products were communicated to Mr. Kagawa directly

 through scientific articles and editorials generated by Defendants and propagated through the

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 internet and other media, national and regional advertising, marketing and promotion efforts, as

 well as the packaging and sales aids. The safety of Paraquat products was also intentionally and/or

 negligently misrepresented to Mr. Kagawa and the public with the intent that such

 misrepresentations would cause Mr. Kagawa and other potential consumers to purchase and use

 or continue to purchase and use Paraquat products.

        284.    Defendants either knew or should have known of the material representations they

 were making regarding the safety and relative utility of Paraquat products.

        285.    Defendants    fraudulently,    intentionally,   and/or   negligently    made    the

 misrepresentations and/or actively concealed, suppressed, or omitted this material information

 with the specific desire to induce Mr. Kagawa, and the consuming public to purchase and use

 Paraquat products. Defendants fraudulently, intentionally, and/or negligently, knew or should have

 known that Mr. Kagawa and the consuming public would rely on such material misrepresentations

 and/or omissions in selecting and applying Paraquat products. Defendants knew or should have

 known that Mr. Kagawa would rely on their false representations and omissions.

        286.    Defendants made these misrepresentations and actively concealed adverse

 information including the risk of Parkinson’s Disease, at a time when, their agents and/or

 employees knew or should have known, the product had defects, dangers, and characteristics that

 were other than what was represented to the consuming public. Despite the fact that Defendants

 knew or should have known of reports of severe risks including Parkinson’s Disease with Paraquat

 use and exposure, this information was strategically minimized, understated, or omitted.

        287.    The fraudulent, intentional and/or negligent material misrepresentations and/or

 active concealment, suppression, and omissions by Defendants was perpetuated directly and/or

 indirectly through the advertisements, packaging, sales aids, furtive public relations efforts, and



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 other marketing and promotional pieces authored, analyzed, created, compiled, designed, drafted,

 disseminated, distributed, edited, evaluated, marketed, published, and supplied by Defendants.

        288.    If Mr. Kagawa had known the true facts concerning the risks associated with

 Paraquat exposure, Mr. Kagawa would have used a safer alternative.

        289.    Mr. Kagawa’s reliance upon the material misrepresentations and omissions was

 justified, among other reasons, because said misrepresentations and omissions were made by

 individuals and entities who were in a position to know the true facts concerning Paraquat while

 Mr. Kagawa was not in a position to know the true facts because Defendants overstated the benefits

 and safety of Paraquat and downplayed the risk of Parkinson’s Disease, thereby inducing Mr.

 Kagawa to use the herbicide rather than safer alternatives.

        290.    As a direct and proximate result of Defendants’ actions and inactions, Mr. Kagawa

 was exposed to Paraquat and suffered injuries and damages, as set forth herein.

        WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in Plaintiffs’

 favor for compensatory and punitive damages, together with interest, costs herein incurred,

 attorneys’ fees and all such other and further relief as this Court deems just and proper. Plaintiffs

 also demand a jury trial on the issues contained herein.

                                            COUNT XV

                    WRONGFUL DEATH AGAINST ALL DEFENDANTS

        291.    Plaintiffs repeat and reiterate the allegations previously set forth herein.

        292.    Plaintiff Kathleen Kaizuka is the child of her late father, Hiroshi Kagawa, and a

 surviving heir of the decedent and is authorized to bring an action for the wrongful death of Hiroshi

 Kagawa.




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         293.    The injuries and damages of Mr. Kagawa were caused by the wrongful acts,

 omissions, and fraudulent misrepresentations of Defendants.

         294.    As a result of the conduct of Defendants and ingestion of Defendant’s Paraquat

 product, the Decedent Mr. Kagawa suffered fatal injuries.

         295.    As a result of the death of decedent, statutory beneficiaries of decedent were

 deprived of love, companionship, comfort, support, affection, society, solace, and moral support

 of the decedent.

         296.    Plaintiff Kathleen Kaizuka is entitled to recover economic and non-economic

 damages against all Defendants for wrongful death directly and legally caused by the defects in

 Defendants’ product and the negligent conduct, acts, errors, omissions and intentional and

 negligent misrepresentations of Defendants, and each of them.

         297.    As a direct and proximate result of Defendants’ negligence, decedent’s

 beneficiaries, suffered damages as a result of decedent’s death including funeral and burial

 expenses, loss of services, loss of society, loss of companionship, consortium, care, assistance,

 attention, protection, guidance, counsel, instruction, and mental anguish.

         WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in Plaintiffs’

 favor for compensatory and punitive damages, together with interest, costs herein incurred,

 attorneys’ fees and all such other and further relief as this Court deems just and proper. Plaintiffs

 also demand a jury trial on the issues contained herein.

                                            COUNT XVI

                                       SURVIVAL ACTION

         298.    Plaintiffs incorporate by reference all other paragraphs in this Complaint as if set

 forth fully herein.



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        299.    As a direct and proximate result of the acts and/or omissions of Defendants as set

 forth herein, the decedent named in this action used Paraquat. Subsequent to such use, decedent

 developed Parkinson’s Disease, suffered substantial pain and suffering, both physical and

 emotional in nature, and subsequently died.

        300.    Plaintiff Kathleen Kaizuka, on behalf of herself and all of the next of kin or

 successors-in-interest of decedents, is entitled to recover damages as decedent would have if they

 were living, as a result of acts and/or omissions of Defendants.

        301.    Plaintiff Kathleen Kaizuka, on behalf of herself and all of decedent’s next of kin or

 successors-in-interest is also entitled to recover punitive damages and damages for substantial pain

 and suffering caused to decedent from the acts and/or omissions of Defendants as fully set forth

 herein, including without limitations, punitive damages.

        302.    As a direct and proximate result of Defendants’ conduct, Plaintiff Kathleen Kaizuka

 and decedent have been injured and sustained severe and permanent pain, suffering, disability,

 impairment, loss of enjoyment of life, loss of care and comfort, and economic damages.

        WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in Plaintiffs’

 favor for compensatory and punitive damages, together with interest, costs herein incurred,

 attorneys’ fees and all such other and further relief as this Court deems just and proper. Plaintiffs

 also demand a jury trial on the issues contained herein.

                                  DEMAND FOR JURY TRIAL

        303.    Plaintiffs incorporate all other allegations, including all causes of action, herein.

        304.    Plaintiffs demand a jury trial on all issues contained herein.




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                                    PRAYER FOR RELIEF

        305.   WHEREFORE, Plaintiffs request that this Court to enter judgment in Plaintiffs’

 favor and against the Defendants for:

               a. actual or compensatory damages in such amount to be determined at trial and

                   as provided by applicable law;

               b. exemplary and punitive damages sufficient to punish and deter the Defendants

                   and others from future fraudulent practices;

               c. pre-judgment and post-judgment interest;

               d. costs including reasonable attorneys’ fees, court costs, and other litigation

                   expenses; and

               e. any other relief the Court may deem just and proper.

        DATED: Honolulu, Hawaii, April 11, 2024.


                                                       /s/ Sofia Hirosane McGuire
                                                     JAMES H.Q. LEE
                                                     THOMAS J. WONG
                                                     SOFIA HIROSANE McGUIRE
                                                     Attorneys for Plaintiffs
                                                     KATHLEEN KAIZUKA, Individually
                                                     and as the child of Hiroshi Kagawa




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         STATE OF HAWAI‘I
      CIRCUIT COURT OF THE                  SUMMONS
           FIRST CIRCUIT              TO ANSWER CIVIL COMPLAINT
 CASE NUMBER


 PLAINTIFF’S NAME & ADDRESS, TEL. NO.
 KATHLEEN KAIZUKA, INDIVIDUALLY, AND AS THE CHILD OF HIROSHI KAGAWA
 c/o JAMES H.Q. LEE, ESQ.
 DEVENS, NAKANO, SAITO, LEE, WONG & CHING
 Central Pacific Plaza
 220 South King Street, Suite 1600
 Honolulu, Hawaii 96813

 PLAINTIFF                                                                  VS. DEFENDANT(S)
 KATHLEEN KAIZUKA, INDIVIDUALLY, AND AS THE CHILD                                  SYNGENTA AG; SYNGENTA CROP PROTECTION,
 OF HIROSHI KAGAWA                                                                 LLC;CHEVRON U.S.A. INC.; YAMASHIRO BUILDING &
                                                                                   SUPPLY, INC.; JOHN DOES 1-10, JANE DOES 1-10, DOE
                                                                                   PARTNERSHIPS, CORPORATIONS, or ENTITIES 1-20,
                                                                                   Defendants.




 TO THE ABOVE-NAMED DEFENDANT(S)
       You are hereby summoned and required to filed with the court and serve upon:
       JAMES H.Q. LEE, ESQ.
       DEVENS, NAKANO, SAITO, LEE, WONG & CHING
       1600 Central Pacific Plaza
       220 South King Street
       _______________________________________________________________________________________________,
     plaintiff, as indicated above/whose address is stated above, an Answer to the Complaint /
                                                                                             which
     COMPLAINT                                                                                     is herewith served upon you, within 20 days after service
     of this summons upon you, exclusive of the date of service.  If you fail to do so, judgment by default will be taken against
     you for the relief demanded in the complaint.
        THIS SUMMONS SHALL NOT BE PERSONALLY DELIVERED BETWEEN 10:00 P.M. AND 6:00 A.M. ON
        PREMISES NOT OPEN TO THE GENERAL PUBLIC, UNLESS A JUDGE OF THE ABOVE-ENTITLED
        COURT PERMITS, IN WRITING ON THIS SUMMONS, PERSONAL DELIVERY DURING THOSE HOURS.

        A FAILURE TO OBEY THIS SUMMONS MAY RESULT IN AN ENTRYOF DEFAULT AND DEFAULT
        JUDGMENT AGAINST THE DISOBEYING PERSON OR PARTY.
                                                                                     					
       The original document is filed in the                                         Effective Date of 28-Oct-2019
       Judiciary’s electronic case management                                        Signed by: /s/ Patsy Nakamoto
       system which is accessible via eCourt Kokua
                                                                                     Clerk, 1st Circuit, State of Hawai‘i
       at: http:/www.courts.state.hi.us


                     In accordance with the Americans with Disabilities Act, and other applicable state and federal laws, if you require a
                     reasonable accommodation for a disability, please contact the ADA Coordinator at the Circuit Court Administration Office on
                     OAHU- Phone No. 808-539-4400, TTY 808-539-4853, FAX 539-4402, at least ten (10) working days prior to your hearing or
                     appointment date.




Form 1C-P-787 (10/19) 1CCTA
Summons to Complaint
